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                    UNITED STATES DISTRICT COURT

                     DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                 )
                                         )
     v.                                  ) CRIMINAL NO. 23-4293-DHH
                                         )
JACK DOUGLAS TEIXEIRA                    )

                DEFENDANT JACK DOUGLAS TEIXEIRA’S
                       DETENTION HEARING




                                  Exhibit 4

                           Residence Door Cameras
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